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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------X
In re:
                                                  Case No.: 08-12666 (MG)

                  Pace Product Solutions, Inc.                                                              Chapter 7

                                                       Debtor
-------------------------------------------------------------------------------------------------------------------------X

  ORDER GRANTING MOTION OF 122 STREET SLASH, LLC FOR
 ENTER OF ORDER GRANTING RELIEF FROM THE AUTOMATIC
              STAY AND RELATED RELIEF

                  Upon consideration of the motion of 122 Street Slash, LLC for Entry

of an Order granting Relief from the Automatic Stay and for related relief

dated July 29,2008 and the Declaration of Eyal Alfi in support thereof, and

proper notice having been given to all required parties, and this Court having

determined and found that the relief requested in the Motion is proper and that

cause exists for the relief requested therein; and after due deliberation

thereon; and good and sufficient cause appearing therefore, it is hereby

                  ORDERED, that the Motion is GRANTED as provided herein, and it

is further,

                  ORDERED, that the automatic stay under section 362 of the

Bankruptcy Code is hereby vacated to permit 122 Street Slash, LLC to

exercise all rights and remedies under applicable law to enforce its rights to

recover possession of premises occupied by the Debtor as a month to month

tenant/occupant located at 122 School Street, Yonkers, New York, including

but not limited to serving and filing any and all required predicate notices and

all other pleadings and proceedings; and it is further

                  ORDERED, that the relief provided herein is effective and enforceable

immediately upon entry of this Order, without any delay, and this Court
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hereby orders such immediate effectiveness and enforceability

notwithstanding any provision of the Federal Rules of Bankruptcy Procedure

or other applicable rule or law; and it is further

       ORDERED, that the requirement set forth in S.D.N.Y.

L.B.R. 9013-1(b) to file a separate memorandum of law is waived.


 Dated:        August 20, 2008

               New York, New York

                               /s/ Martin Glenn

                               HONORABLE MARTIN GLENN
                               UNITED STATES BANKRUPTCY JUDGE
